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IN THE UNITED STATES DISTRICT COJB§Q'@ ~~ --
FOR THE WESTERN DISTRICT OF TENQEA$§§E

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UNITED sTATEs 01= AMERICA, ) t a TN a KsoN
Plaintiff, §
vs. § No. 04-10091_T-An
JUs'rIN MccoMrc, §
Defendant. §

 

ORDER DENYING MOTION TO BE PERMITTED TO APPEAL AS PAUPER
AND DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Defendant has moved the court to allow him to proceed on appeal in forma pauperis
Rule 24 of the Federal Rules of Appellate Procedure. Rule 24 provides as follows:

(a) Leave to Proceed in Forma Pauperis.

(l) Motion in the District Court. Except as stated in Rule 24(a)(3), a party to

a district-court action who desires to appeal in forma pauperis must file a

motion in the district court. The party must attach an affidavit that:

(A) shows in the detail prescribed by Form 4 of the Appendix of Forms, the
party's inability to pay or to give security for fees and costs;

(B) claims an entitlement to redress; and
(C) States the issues that the party intends to present on appeal.
(2) Action on the Motion. If the district court grants the motion, the party may

proceed on appeal without prepaying or giving security for fees and costs. If
the district court denies the motion, it must state its reasons in writing.

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with Hu|e 55 mdl°r 32{*3) FHC'P °"

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Defendant has failed to attach to his motion an affidavit stating an entitlement to
redress or the issues to be presented on appeal as required by Rule 24(a)(1)(B) and (C).
Because Defendant has not complied with the requirements of Rule 24, the motion to
proceed on appeal in forma pauperis is DENIED without prejudice to re-iiling with a
properly completed affidavit

Finally, the motion to proceed in forma pauperis and the motion for the appointment
of counsel are DENIED because Defendant is already represented by counsel. David Camp
was retained to represent Defendant in this court. Sixth Circuit Rule 101 provides that
“[t]rial counsel in criminal cases, whether retained or appointed by the district court, is
responsible for the continued representation of the client on appeal until specifically relieved
by this Court.” Mr. Camp has not been relieved as counsel ; therefore, Defendant cannot file
motions on his own behalf. w G_re__e_M_l_l_, 969 F.2d 915 (10‘h Cir. 1992)
(Represented party must have current counsel.file motion to Withdraw counsel.)

IT IS SO ORDERED.

WAM

S D. TODD
ED STATES DISTRICT JUDGE

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DATE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 35 in
case 1:04-CR-10091 was distributed by f`aX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

